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                               3:23-mj-00021
DISTRICT OF OREGON                                   AFFIDAVIT OF DAVID SLAFSKY

               Affidavit in Support of a Criminal Complaint and Arrest Warrant

                       INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with Homeland Security Investigations (HSI) and have

been since March of 2022. I am a law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510(7), and I am authorized by law to

conduct investigations and to make arrests for felony offenses. I am currently assigned to the

Assistant Special Agent in Charge, Portland, Oregon. I was previously employed as a Special

Agent with the Social Security Administration – Office of Inspector General (SSA-OIG) and

from October 2015 until March 2022. Prior to my employment at SSA-OIG, I was a Special

Agent with the Internal Revenue Service – Criminal Investigation (IRS-CI) division from

August of 2009 until October 2015. I am authorized and assigned to investigate violations of

federal laws, including 21 U.S.C. §§ 841(a)(1), 846, 848, and 843(b) of the Drug Abuse

Prevention and Control Act of 1970; that is, possession with intent to distribute and the

distribution of controlled substances, conspiracy to commit such offenses, the operation of a

continuing criminal enterprise, and the use of a communication facility to facilitate a felony

violation of the Drug Abuse Prevention and Control Act of 1970. I have participated in

investigations alleging violations of numerous federal crimes including fraud, conspiracy,

money laundering, theft and drug trafficking. I have also acquired knowledge and information

about the illegal drug trade and the various meansand methods by which it is furthered

including through the use of computers, smart phones, digital media and the Internet from

formal and informal training, other law enforcement officers and investigators, informants,


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individuals I have arrested and/or interviewed, and from my participation in other

investigations. I am currently detailed to the High Intensity Drug Trafficking Area (HIDTA)

Interdiction Taskforce (HIT) located at the Portland Police Bureau’s(PPB) Narcotics and

Organized Crime (NOC) Unit.

       2.      I submit this affidavit in support of an application for a criminal complaint

and arrest warrant for Myyeshia TAYLOR for a violation of 18 U.S.C Section 922 (g),

felon in possession of a firearm.

       3.      I am a party to the investigation described herein. My knowledge of the matters

described in this affidavit are the result of a combination of my own firsthand knowledge, review

of police reports, as well as facts described to me by other witnesses and law enforcement

personnel assisting with the investigation. I have not included all information learned through

this investigation. I have included information I believe is sufficient to establish probable cause

for the criminal complaint and arrest warrant requested by this affidavit.

                            STATEMENT OF PROBABLE CAUSE

       4.      On February 1, 2023, officers with the PPB Enhanced Community Safety

Team (ECST), PPB Central Precinct Neighborhood Response Team (NRT), and NOC

were conducting surveillance in the area of Dawson Park, located at 1 North Stanton

Street, Portland, OR 97227.

       5.      At approximately 0930 hours, Officer Michael Sherwood observed a black

Chevy Malibu park on North Stanton Street just east of North Williams Avenue. Officer

Sherwood observed two individuals approach the passenger side window of the Chevy

Malibu, place their hand into the vehicle with cash in hand, then withdrew their hand

while holding something small in their hand. Officer Sherwood believed he was

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witnessing street level hand-to-hand narcotics transactions where the individual in the

passenger seat of the Chevy Malibu was delivering drugs to customers.

       6.      PPB Officers Flohr and Kirby-Glatkowski stopped one of the individuals

who had conducted a hand-to-hand narcotics transaction on foot near the corner of NE

Morris and NE Martin Luther King. Officer Devlin assisted with the stop. The individual

was found to be in possession of three “crack” cocaine rocks which Officer Devlin

observed being removed from his front right pants pocket.

       7.      At approximately 1100 hours, the black Chevy Malibu departed the area of

Dawson Park eastbound on North Stanton Street. Based on the observations of Officer

Sherwood and the narcotics found in the possession of the individual stopped on foot by

PPB Officers, the blacky Chevy Malibu was stopped by PPB Officers Wyatt and Woods

near the corner of NE Monroe and NE Martin Luther King. PPB Officers Sparks and

Verbout assisted with the traffic stop.

       8.      As part of the ongoing narcotics investigation, officers removed all of the

occupants from the vehicle. Officer Sparks asked the driver, later identified as Myyeshia

TAYLOR, to step out and stand facing the driver’s side door. Officer Sparks saw that

TAYLOR’s jacket pocket was open and observed the barrel of a gun pointing at him. A

photograph of the gun in TAYLOR’s pocket is included below:

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       9.       TAYLOR stated the jacket was not hers and the gun was not hers.

TAYLOR further stated that she had just gotten “off paper” for gun charges and knows

not to mess with guns. This indicates to me that she is aware of her status as a convicted

felon who is prohibited from possessing firearms.

       10.      Officer Sparks removed the magazine from the gun and observed that there

were five .25 ACP rounds contained in the magazine and that the chamber of the gun was

empty. During a subsequent search of TAYLOR, one .38 caliber round was also found in

a different jacket pocket. PPB Officers transported TAYLOR to the PPB North Precinct

for an interview.

       11.      While preparing to interview TAYLOR, I reviewed TAYLOR’s criminal

history and observed that she had a federal conviction dated June 23, 2018 for violations

of 18 U.S.C. Section 922 (g), felon in possession of a firearm. She is no longer on federal

supervision. In addition, she has multiple state court felony convictions for Distribution of


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a Controlled Substance (2013, 2005, and 1999). She was also convicted of Arson I in

Multnomah County, Oregon in 2006.

       12.      No official ATF nexus report has yet been completed. Through my training

and experience, and conversations with other law enforcement officers, I know that it is

common for firearms to be sold by a wholesale business in one state for distribution in

another state. For this reason, purchasers

of firearms often obtain firearms that

originated in another state. I examined the

firearm seized from TAYLOR and

observed that it was stamped with the

words “Manufactured in Spain by ‘Ruby’

Arms Co”. I conducted an internet search

and learned that many manufacturers in

Spain produced .25 ACP pocket pistols

using the name “Ruby”. A photograph of

the stamped markings is included here:

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                                        CONCLUSION

       13.      Based on the foregoing information, and based on my training and

experience, I have probable cause to believe, and I do believe, that Myyeshia TAYLOR

violated 18 U.S.C Section 922 (g), felon in possession of a firearm.

       14.      This affidavit and the requested arrest warrant were reviewed by Assistant

United States Attorney (AUSA) Leah K. Bolstad prior to being submitted to the Court.

AUSA Bolstad informed me that in her opinion, the affidavit is legally and factually

sufficient to establish probable cause to support the issuance of the requested complaint

and arrest warrant. I respectfully request the Court to authorize the attached arrest warrant

based on this complaint.



                                                     (By Phone)
                                              DAVID SLAFSKY, Special Agent
                                              Homeland Security Investigations



       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at

______
        0
 8:35 a.m./p.m. on ___________
                    2/2/2023




                                              HONORABLE STACIE F. BECKERMAN
                                              United States Magistrate Judge




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